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                                                                                                       USOO8865O14B2


  (12) United States Patent                                                           (10) Patent No.:                  US 8,865,014 B2
         Guo et al.                                                                   (45) Date of Patent:                         Oct. 21, 2014

  (54) FIRE EXTINGUISHING COMPOSITION                                             2007/0018143 A1         1/2007    Goossens ...................... 252/.609
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          SUBLMATION
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                        patent is extended or adjusted under 35                  CN              201260858 Y          6, 2009
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  (21) Appl. No.:             13/824,142                                         RU                2091106 C1         9, 1997
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                                                                                 International Search Report for PCT Application No. PCT/CN2011/
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          S371 (c)(1),                                                           Written Opinion for PCT Application No. PCT/CN2011/079424,
          (2), (4) Date:      Mar. 15, 2013                                      dated Dec. 15, 2011 (10 pages).
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  (51) Int. Cl.
          A62D L/06                    (2006.01)                                 * cited by examiner
          C09K2I/00                    (2006.01)
          A62D L/00                    (2006.01)                                 Primary Examiner — Joseph D Anthony
  (52) U.S. Cl.                                                                  (74) Attorney, Agent, or Firm — Shumaker & Sieffert, P.A.
          CPC ................ A62D I/0092 (2013.01); A62D I/06
                                                                 (2013.01)       (57)                       ABSTRACT
          USPC ............ 252/5: 252/4; 252/6; 252/7; 252/605;
                                     169/44; 169/45; 169/46; 169/47              The present invention relates to a fire extinguishing compo
  (58) Field of Classification Search                                            sition which generate fire extinguishing Substance by high
          USPC ........ 252/4, 5, 6, 7, 605, 610; 169/44, 45, 46,                temperature Sublimation; the fire extinguishing composition
                                                                     169/47      comprising a fire extinguishing material which, in a heating
          See application file for complete search history.                      process, can Sublimate and release a fire extinguishing Sub
                                                                                 stance with fire extinguishing properties; the content of the
  (56)                      References Cited                                     fire extinguishing material is at least 80 wt %. When the fire
                                                                                 extinguishing composition is in use, a pyrotechnic agent as a
                    U.S. PATENT DOCUMENTS                                        heat source and a power source; and the purpose of fire
                                                                                 extinguishing is achieved by: igniting the pyrotechnic agent,
         2,901,428 A * 8/1959 Schulenburg ..................... 252/7            generating a large quantity of fire Substance from the fire
         3,017,348 A * 1/1962 Schulenburg et al. ............ 252/2              extinguishing composition in the use of high temperature
         4,207,245 A * 6/1980 Halbert ................             556/28        produced by burning pyrotechnic agent, and the fire Sub
         5,055,208 A * 10, 1991 Stewart et al. .................... 252.8
         5,071,076 A * 12/1991 Chagnon et al. .              ... 241.21          stance sprays out together with the pyrotechnic agent. When
         5,423.385 A * 6/1995 Baratov et al. ...             ... 169/46          compared with traditional aerosol fire extinguishing systems,
         5,466,386 A * 1 1/1995 Stewart et al. .................... 252/2        gas fire extinguishing systems and water type extinguishing
         5,613,562 A * 3/1997 Galbraith et al. ...            ... 169,12         systems, the present invention can provide a more efficient
         5,831.209 A * 1 1/1998 Kozyrev et al. ...... ... 149/21
         6,042,664 A * 3/2000 Kozyrev et al. ..                   149,109.6      and safer fire extinguishing composition.
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                                                        US 8,865,014 B2
                                 1.                                                                  2
         FIRE EXTINGUISHING COMPOSITION                                  In addition, the domestic Henan Polytechnic University
         GENERATING FIRE EXTINGUISHING                                 published an article about Sublimation and fire extinguishing
         SUBSTANCE BY HIGH TEMPERATURE                                 of ferrocene and, a patent CN101327364A, namely, a fer
                   SUBLIMATION                                         rocene fire extinguishing test system.
                                                                         However, the above researches are all based on the labora
        TECHNICAL FIELD OF THE APPLICATION                            tory theoretical research merely, without being practically
                                                                      applied in fire extinguishers; meanwhile, the current research
     The present invention relates to fire-fighting field, relating   result shows that only the ferrocene can generate the fire
  to a use of a fire extinguishing composition and a chemical         extinguishing Substances when it Sublimates at high tempera
  fire extinguishing Substance, and in particular to a fire extin 10 ture, and other Substances are not mentioned.
  guishing composition which can generate fire extinguishing              The existing aerosol fire extinguishing agent mainly
  Substance by high temperature Sublimation.                           includes the S type and K type fire extinguishing agents, by
                                                                       comprehensively analyzing the performance characteristics
             BACKGROUND OF THE INVENTION                               of the existing aerosol fire extinguishing agent, the disadvan
                                                                    15 tages are mainly as follows: all the existing aerosol fire extin
     Since the specific objectives of replacing the Halon fire guishing agents release a large amount of gas and active
  extinguishing agent were proposed to member countries by particles during oxidation-reduction reaction, and achieve the
  The Canada Montreal Convention in 1987, all the countries of chemical-physical synergetic fire extinguishing purpose
  the world dedicated to the research of a new fire extinguishing through the chain Scission reaction of the active particles and
  technology; people make great efforts to research a fire extin the coverage Smothering of the large amount of gas. The
  guishing technology which has high fire extinguishing effi aerosol fire extinguishing agent can release a large amount of
  ciency without any environment pollution.                            heat while releasing the aerosol during the combustion reac
     The gas fire extinguishing systems, the powder fire extin tion. In order to effectively decrease the temperature of device
  guishing systems, the water type fire extinguishing systems and aerosol, and to avoid the secondary fire, a cooling system
  and the like, which are environmentally friendly, are widely 25 needs to be mounted, which causes defects of complicated
  used as Substitutes of the Halon fire extinguishing agent. The and heavy device structure, complicated technical process
  fire extinguishing mechanism of an inert gas fire extinguish and high cost. Otherwise, a large number of active particles
  ing system, Such as carbon dioxide, IG541 and the like, is are inactivated as the existing of cooling system, and the fire
  mainly physical extinguishing, namely, a Smothering extin extinguishing performance is greatly reduced.
  guishing by reducing the oxygen concentration of a fire area. 30
  Such fire extinguishing method would threat the personal                          SUMMARY OF THE INVENTION
  safety of workers. The powder fire extinguishing system
  implements fire extinguishing by the process that the powder            Aiming at the current situations of the existing fire extin
  spraying under the effect of pressurized gas contacts with the guishing devices, and in particular to the inherent defects of
  flame to generate the physical and chemical inhibition effect. 35 the aerosol fire extinguishing systems, the purpose of the
  The water spraying fire extinguishing system achieves the present invention is to provide a fire extinguishing composi
  purpose of controlling the fire, inhibiting the fire and extin tion which is without high-pressure storage, safer and envi
  guishing the fire under triple functions of the water mist:          ronment friendly, and has efficient fire extinguishing effec
  cooling, Smothering and isolating thermal radiation.                 tiveness.
     However, these fire extinguishing systems need to be 40 The fire extinguishing composition of the present invention
  stored under high pressure, not only the Volume of these comprises a fire extinguishing material which can generate a
  systems are larger, but also the risks of physical explosion fire extinguishing Substance by Sublimation at high tempera
  during the storage process are higher; the document “The ture, wherein the content thereof is more than 80 wt %.
  Security Analysis of Gas Fire extinguishing System” (Fire               Except comprising the fire extinguishing material which is
  Science and Technology 2002.21 (5)) analyzes the risks of the 45 used as the main fire extinguishing material and can generate
  gas fire extinguishing system, and enumerates the safety acci a fire extinguishing Substance by Sublimation at high tem
  dents of the storage pressure gas fire extinguishing system.         perature, the fire extinguishing composition of the present
     According to the research data, many foreign researchers invention also can properly add various additives which are
  carried out a large number of fire extinguishing Substance commonly used in the field.
  researches, the Next Generation Fire Extinguishing Technol 50 The fire extinguishing composition which can generate fire
  ogy Project Group (NGP) of the Building and Fire Research extinguishing Substance by high temperature Sublimation of
  Centre of the U.S. National Institute of Standards and Tech          the present invention can simultaneously achieve the follow
  nology (NIST) publishes a lot of articles on this field. The ing effects: first, the fire extinguishing composition which are
  group has researched the fire extinguishing capacity of the capable of generating the fire extinguishing Substance by high
  testing Substances by making the testing Substances act on the 55 temperature Sublimation can generate a flame inhibition Sub
  flame with carrier gas. The nitrogen, carbon dioxide or CF.H stance by Sublimation at the moment of heating; this Sub
  gas were used as carrier gas and the testing Substances were stance can extinguish the fire by the physical or chemical
  heated by the carrier gases with high temperature. Wherein, inhibition effect, or the physical and chemical Synergistic
  Some Substances (such as the ferrocene) can Sublimate under flame inhibition effect; second, by the inhibition effect of the
  the effect of high temperature gas, and then can generate fire 60 Sublimation products, the fire extinguishing effectiveness of
  extinguishing Substances which can obviously improve the the fire extinguishing agent is further improved while reduc
  fire extinguishing effectiveness of the carrier gas (Proceeding ing the re-combustion possibility of the fire source; third, the
  of the Combustion Institute, Volume 28, 2000/pp. 2965-2972, fire extinguishing composition can rapidly absorb heat and
  Flame inhibition by ferrocene and blends of inert and cata Sublimate under high-temperature heating, so as to effec
  lytic agents, Halon Options Technical Working Conference 65 tively and rapidly reduce the heat released by burning the
  2-4 May 2000, Flame inhibition by ferrocene, alone and with pyrotechnic agent, to greatly reduce the temperature of the
  CO and CFH).                                                         nozzle of the fire extinguishing device and the sprayed Sub
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                                                         US 8,865,014 B2
                                 3                                                                        4
  stances, to save the complicated cooling system of the fire               ate, graphite, combination solution of water Soluble polymer
  extinguishing device, and also to eliminate the risks of gen              or the mixture thereof, wherein the content of the additive is
  erating the secondary fire; fourth, the fire extinguishing com            less than or equal to 20 wt %.
  position is easy to be processed and molded, and also can be                 Each ingredient of the fire extinguishing composition of
  independently used or matched with the physical coolant;                  the present invention and the content thereofare preferably:
  fifth, the fire extinguishing composition has stable perfor
  mance, and is easy to be stored for a long time; sixth, the fire             the fire extinguishing material: 80 wt % to 90 wt %,
  extinguishing composition has low toxicity or non-toxicity,                 the additive: 10 wt % to 20 wt %.
  and it is environment friendly and has excellent performance.               The fire extinguishing composition of the present
    The fire extinguishing composition which can generate fire 10                                                            - invention
  extinguishing ES by E. temperature NE of                                  can be molded to be spherical, flake-like, strip-like, block
  the present invention is described below in details.                      like and cellular shapes by using the techniques of pelleting,
    The fire extinguishing composition of the present invention mould pressing, extruding and the like, and can be imple
  includes the fire extinguishing material which can generate mented with surface coating treatment. Hydroxymethyl cel
  the fire extinguishing substance by sublimation at high tem- 15 lulose or hydroxyethyl cellulose is preferably added as the
  perature, of which the content is more than 80 wt %.                      Surface coating agent when implementing the Surface coating
     The flame inhibition mechanism of the fire extinguishing               treatment. The Surface coating agent can improve the Surface
  composition generating fire extinguishing Substance by high               finish of the composition, improve the intensity, abrasion
  temperature sublimation is as follows:                                    resistance and shock resistance thereof, and prevent the phe
    the fire extinguishing composition can Sublimated to be the 20 nomenon that the fire extinguishing composition is pulver
  gaseous Substances with flame inhibition effect at high tem-     ized, dregs dropped, and overflows from the fire extinguish
  perature; the gaseous fire extinguishing Substances can react    ing device during the transportation process.
  with one or more of O,OH, H free radicals which are neces-                            - 0 composition of the present invention
                                                                      The fire extinguishing
  sary for the chain combustion reaction via the free radicals, so
  as to cut off the chain combustion reaction; and also can 25 is described more specifically below by the embodiments.
  reduce the partial pressure of oxygen by physical effect to
  inhibit the flames, or can simultaneously implement the                              DETAILED DESCRIPTION OF THE
  physical and chemical inhibition effect to realize the fire                                        EMBODIMENTS
  extinguishing effect together; and meanwhile, it can generate
  synergistic interaction with the pyrotechnic agent to further 30            Respectively adding 30 g of the fire extinguishing compo
  improve the fire extinguishing effectiveness of the fire extin-                                                        - 0
  guishing agent, and to greatly shorten the effective fire extin- sition prepared by the fire extinguishing material and the
  guishing time.                                                   additives in the following table into the fire extinguishing
     In order to guarantee the stable performance of the fire device which is filled with 20g of the K type thermal aerosol
  extinguishing composition under normal temperature and for 35 generating agent and respectively implementing a distribut
  long term storage, the melting point of the fire extinguishing ing fire extinguishing tests in a 1.0 m test box; respectively
  material capable of generating fire extinguishing Substances testing 3 rounds for each group of samples, recording the fire
  by high temperature sublimation is preferably more than 100 extinguishing quantity and the residual quantity; the test
  degrees centigrade, and the material can be: 2,4,6-tribro-                result is as shown in Table 1.
  mophenylglycidyl ether, dimethyl 4-bromophthalate, pent- 40 The comparison embodiments are that: implementing a
  abromodiphenyl benzyl bromide, 2,4,6-tribromophenyl distributing fire extinguishing tests for the fire extinguishing
  maleimide, pentabromochlorocyclohexane, tri(2,3-dibro- device samples which are only respectively filled with 20 g
  mopropyl)iso-cyanuric acid ester, tetrachlorophthalic anhy- commercial and normal S type aerosol fire extinguishing
  dride, hexachlorobenzene, hexachloroethane, melamine,       agent or K type aerosol fire extinguishing agent in the same
  cyanuric acid, red phosphorus, tin oxide, ammonium bro- 45 1.0 m test box, respectively testing 3 rounds for each group
  mide, cobaltocene.                                                        of samples, recording the fire extinguishing quantity and the
     The fire extinguishing composition of the present invention            residual quantity, and the experimental test result is as shown
  also can add various additives as required. Such as the Stear-            in Table 1.
                                                                                          TABLE 1.
                                                                               Ingredient and test result comparison
                                                                                           Ingredient content of experimental example Comparison
                                                                                                           (mass percent)               example
                                                              Ingredient                 1      2        3      4    S         6    7   1    2

                                              Fire            Commercial S type fire                                                    M
                                              extinguishing   extinguishing agent
                                              material        Commercial K type fire                                                         M
                                                              extinguishing agent
                                                              Pentabromodiphenyl         90                                    18
                                                              benzyl bromide
                                                              Tetrachlorophthalic               70
                                                              anhydride
                                                              Hexachlorobenzene                          65
                                                              Melamine                                          82
                                                              Red phosphorus              5                          8O
                                                              Tin dioxide                       25                             72
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                                                                               US 8,865,014 B2
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                                               TABLE 1-continued
                                         Ingredient and test result comparison
                  Ammonium bromide                                       25               16            95
                  Cobaltocene                                                     15             5
  Additive        Magnesium stearate                            1.5       4
                  Zinc stearate
                  Graphite                              3      2          2.5       1     2      1.5     2
                  Hydroxypropyl methyl
                  cellulose
                  Sodium silicate
                  Polyvinyl alcohol
  Surface         Hydroxyethyl cellulose                2       1.5       3.5       2     2      3.5     3

                                                 Test result comparison
                    Four      Four             three        Four      three      Four          Four      Two     tWO
  Fire               fire      fire             fire         fire      fire       fire          fire     fire    fire
  extinguishing     extin-    extin-           extin-       extin-    extin-     extin-        extin-   extin-   extin
  situations       guished guished guished guished guished guished guished guished guished
  Residual          31.5          34.2         27.8         30.6      28.3       21.7          26.9      41.3    46.7
  quantity 96


     The fire extinguishing condition in the above table is the              generating a large quantity of fire extinguishing Sub
  least fire extinguishing numbers of the three tests which are                stance from the fire extinguishing composition in the
  implemented, the residual quantity is the average value of the 25            use of high temperature produced by burning pyro
  three experiences; from the test data in the above table, it can             technic agent, and
  see that the fire extinguishing performances of the fire extin             the fire extinguishing Substance spraying out together
  guishing compositions of the embodiments 1-7 of the present                  with the pyrotechnic agent.
  invention are all Superior to the comparison embodiments 1              2. The fire extinguishing composition according to claim 1,
  and 2 when implementing a distributing fire extinguishing 30 wherein the fire extinguishing material is a composition
  test in the 1.0 m test box, and the residual quantities are all which has a melting point of more than 100° C., and can
  Smaller than the comparison embodiments 1 and 2.                     generate the fire extinguishing substances by sublimation.
     The experimental method is based on the concentration                3. The fire extinguishing composition according to claim 1,
                                                                       wherein
  distribution test method of 7.13 in GA 499-2004, the fire 35 extinguishing     the pyrotechnic agent is a pyrotechnic aerosol fire
  extinguishing test is implemented in the 1 m test box; five                           agent.
                                                                          4. The  fire extinguishing
  steel-made test tanks are put in the test box; four fuel tanks wherein the fire extinguishing      composition according to claim 1,
                                                                                                          material is a bromine-based
  which are staggered up and down in pairs are respectively put fire extinguishing material, a chlorine-based
  in four corners of the experimental space; in addition, a fuel ing material, a nitrogen-based and phosphorus-nitrogen fire extinguish
  tank is put at the bottom of the experimental space behind a 40 based fire extinguishing material or an inorganic fire extin
  baffle plate. N-heptane is filled in the fuel tank, and the bottom guishing material.
  of the tank uses clear water as a cushion layer.                        5. The fire extinguishing composition according to claim 4.
     The above specific embodiments are only exemplary; wherein: the bromine-based fire extinguishing material is
  under the above teachings of the present invention, those 2,4,6-tribromophenyl glycidyl ether, dimethyl 4-bromoph
  skilled in the art can implement various improvements and 45 thalate, pentabromodiphenyl benzyl bromide, 2,4,6-tribro
  deformations on the basis of the above embodiments; and all          mophenyl maleimide or tri(2,3-dibromopropyl) iso-cyanuric
  the improvements or deformations shall fall within the pro acid ester.
  tection scope of the present invention. Those skilled in the art        6. The fire extinguishing composition according to claim 4.
  should know that, the above specific descriptions are only wherein the chlorine-based fire extinguishing material is tet
  used for explaining the purposes of the present invention, 50 rachlorophthalic anhydride, hexachlorobenzene or hexachlo
  without limiting the present invention.                              roethane.
                                                                          7. The fire extinguishing composition according to claim 4.
     What is claimed is:                                               wherein the nitrogen-based and phosphorus-nitrogen based
     1. A fire extinguishing composition which generates fire fire8.extinguishing           material is melamine or cyanuric acid.
                                                                             The fire extinguishing composition according to claim 4.
  extinguishing Substance by high temperature Sublimation, 55 wherein            the inorganic fire extinguishing material is red phos
  wherein the fire extinguishing composition comprises:                phorus,  tin  oxide or ammonium bromide.
     a fire extinguishing material which can release a fire extin         9. The fire extinguishing composition according to claim 1,
        guishing Substance with fire extinguishing properties by wherein the fire extinguishing material is cobaltocene.
        Sublimation in a heating process, the content of the fire 60 10. The fire extinguishing composition according to claim
        extinguishing material being at least 80 wt %; and             1, wherein the fire extinguishing composition also includes an
     a pyrotechnic agent,                                              additive, of which the content is less than or equal to about 20
     wherein the pyrotechnic agent of the fire extinguishing wt %.
        composition is adopted as a heat source and a power               11. The fire extinguishing composition according to claim
        Source in a process of fire extinguishing, and              65 4, wherein the fire extinguishing composition also includes an
     wherein fire extinguishing is achieved by:                        additive, of which the content is less than or equal to about 20
        igniting the pyrotechnic agent,                                wt %.
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     12. The fire extinguishing composition according to claim
  10, wherein the additive is Stearate, graphite, a combination
  solution of water soluble polymer or the mixture thereof.
     13. The fire extinguishing composition according to claim
  11, wherein ingredients of the fire extinguishing composition 5
  and the content thereof are:
    the fire extinguishing material: 80 wt % to 90 wt %,
    the additive: 10 wt % to 20 wt %.
     14. The fire extinguishing composition according to claim
  1, wherein the fire extinguishing composition is implemented 10
  with the Surface coating treatment.
                        k   k    k   k   k
